Case 1:17-cr-00101-LEK Document 774 Filed 01/15/20 Page 1 of 2   PageID #: 6609




   LARS ROBERT ISAACSON
   Hawaii Bar #5314
   1100 Alakea Street, 20th Floor
   Honolulu, Hawai’i 96813
   Phone: 808-497-3811
   Fax: 866-616-2132
   Standby Attorney for Defendant ANTHONY T. WILLIAMS

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK (01)
   AMERICA,
                                       DEFENDANT’S MOTION FOR
          Plaintiff,                   EXTENSION OF TIME TO
                                       FILE ADDITIONAL MOTIONS
         v.                            IN LIMINE AND SUBMIT
                                       JURY INSTRUCTIONS;
                                       DECLARATION OF COUNSEL;
   ANTHONY T. WILLIAMS,                CERTIFICATE OF SERVICE

          Defendant.


    DEFENDANT’S MOTION FOR EXTENSION OF TIME TO FILE
      ADDITIONAL MOTIONS IN LIMINE AND SUBMIT JURY
                     INSTRUCTIONS

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   requests an extension of time to January 17, 2020 to submit his

   proposed jury instructions to the Government and to file
Case 1:17-cr-00101-LEK Document 774 Filed 01/15/20 Page 2 of 2   PageID #: 6610




   additional motions in limine. This motion is based on that

   attached declaration of counsel and the inherent power of this

   court to control the litigation before it.


      Dated: January 15, 2020




                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
